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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


THE UNITED STATES OF AMERICA,
                                                                    ORDER
               v.                                                10-CR-188A

MARGARITA ORTIZ,
                                   Defendant.


               The above-referenced case was referred to Magistrate Judge H. Kenneth

Schroeder, Jr., pursuant to 28 U.S.C. § 636(b)(1)(B). On June 15, 2012, Magistrate

Judge Schroeder filed a Report and Recommendation, recommending that defendant's

motion for suppression of statements and evidence be denied.

               The Court has carefully reviewed the Report and Recommendation, the

record in this case, and the pleadings and materials submitted by the parties, and no

objections having been timely filed, it is hereby

               ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), and for the reasons

set forth in Magistrate Judge Schroeder’s Report and Recommendation, defendant's

motion for suppression of statements and evidence is denied.

               The case is referred back to Magistrate Judge Schroeder for further

proceedings.

               SO ORDERED.


                                          s/ Richard J. Arcara
                                          HONORABLE RICHARD J. ARCARA
                                          UNITED STATES DISTRICT JUDGE

DATED: August 13, 2012
